         Case 2:15-cr-00144-SMJ       ECF No. 447   filed 06/28/16     PageID.1541 Page 1 of 15




          MICHAEL C. ORMSBY

I
                                                                   FILED IN THE
   United States Attorney                                     U.8, DISTRICTCOURT
                                                        EAETERN DISTRICT OF WASHINGTON
   Eastern District of Washington
   Russell E. Smoot                                          JUN 21 2016
3l
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 s
 -l                                 UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF WASHINGTON
 9l
r0l        UNITED STATES OF AMERICA,
     I



1l                                      Plaintiff         15-CR-00144-SMJ-15
t2
                               i/s.                       Guilty Plea and Deferred
13                                                        Prosecution Agreement
t4         NICHOLE M. GOURNEAU,

15                                     Defendant.
l6
                 Plaintiff, United States of America,by and through Michael C. Ormsby, United
t7
          States Attorney, for the Eastern District of Washington, and Russell E. Smoot and
18
          Allyson Edwards, Assistant United States Attorneys for the Eastern District of
19
          Washington, and Defendant NICHOLE M. GOURNEAU and Defendant's counsel,
20
          Frank L. Cikutovich, agree to the following GuilQ Plea and Deferred Prosecution
2l
          Agreement:
22
23
                 1)     Guiltv Plea and Maximum Statutory Penalties:
                 Defendant, NICHOLE M. GOURNEAU, agrees to plead guilty to Count 1 of
24
          the Indictment, filed on December 16,2015,which charges Defendant with
25
          Conspiracy to Commit Bank Fraud, in violation of 18 U.S.C. $$ 1349, 1344.
26
          Defendant understands that this charge is a Class B Felony. Defendant also
27
28 Guilty Plea and Deferred Prosecution Agreement - 1
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          understands that the maximum statutory penalty for Conspiracy to Commit Bank
 1t

,l Fraud, in violation of 18 U.S.C. S$ 1349, 1344, is not more than thirty (30) years
          imprisonment; a fine not to exceed $1,000,000 (or double the gross proceeds); a term
3l
          of supervised release of not more than five (5) years; a term of probation of no longer
4l
     I
          than five (5) years; the payment of restitution; and a $100 special penalty assessment.
 sl
                 Defendant understands that a violation of a condition of supervised release
 6
          carries an additional penalty of re-imprisonment for all or part of the term of
 7
          supervised release, pursuant to 18 U.S.C. $ 3583(e)(3), without credit for time
 8
          previously served on post-release supervision.
 9

l0               2)      The Court is Not a Partv to the Agreement:
                 The Court is not apufi to this Guilty Plea and Deferred Prosecution
11
          Agreement andmay accept or reject this Plea Agreement. Defendant acknowledges
12
          that if she complies with the deferred prosecution agreement, the United States will
13

t4 move to dismiss the Indictment (15-CR-00144-SMJ-15). If the Defendant
                                                                         breaches

          the defened prosecution agreement or violates any of the terms and conditions of the
l5
          deferred prosecution, the Indictment (15-CR-00144-SIVIJ-15) will notbe dismissed
16
          and Defendant willproceed to sentencing.
l7
18
                 Sentencing is a matter that is solely within the discretion of the Court.

l9        Defendant understands that the Court is under no obligation to accept any
                                                     by Defendant;thatthe Court will
20 recommendations made by the United States and/or
2t obtain an independent report and sentencing recommendation from the U.S. Probation
22 Office; and that the Court ffioy, in its discretion, impose any term
                                                                         of imprisonment it

23 deems appropriate up to the statutory maximums stated
                                                               in this Guilty Plea and

24 D eferr ed P ro s e c uti on A gr e ement.
25               Defendant acknowledges that no promises of any type have been made to

26 Defendant with respect to the sentence the Court will impose in this matter.
27 Defendant understands that the Court is required to consider the applicable sentencing
28        Guilty Plea and Defened Prosecution Agreement - 2
          Gourneau Plea Agreement
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 ll guideline range, but may depart upward or downward under the appropriate
     I
          circumstances.
2l
                 Defendant also understands that if this matter does proceed to sentencing and
3
          should the sentencing judge decide not to accept any of the parties' recommendations,
4
          that decision is not a basis for withdrawing from this Guilty Plea and Deferred
 5
          Prosecution Agreement or a basis for withdrawing her plea of guilty. If however, the
 6
          Defendant complies with the Deferred Prosecution Agreement andthe Court does not
 7
          grantthe United States'motion to dismiss 2:15-CR- 00144-SMJ-15, the Defendant
 8
          reserves the option to withdraw her guilty plea, and either proceed to trial or negotiate
 9
          a resolution. The Defendant agrees to waive her right to Speedy Trial and any statute
10
          of limitations if she elects to withdraw her guilty plea in 2:15-CR-00144-SMI-15.
11

12
                 3)      Waiver of Constitutional Rights:
                 Defendant understands that by entering this plea of guilty Defendant is
13

t4 knowingly and voluntarily waiving certain constitutional rights, including:
15
                 a)      The right to a jury trial;

l6               b)      The right to see, hear, and question the witnesses;

t7               c)      The right to remain silent attrial;

18
                 d)      The right to testiff attria|, and

19
                 e)      The right to compel witnesses to testifr.

20               While Defendant is waiving certain constitutional rights, Defendant understands

2t Defendant retains the right to be assisted through the sentencing and any direct appeal
                                                                         at no cost if
22 of the conviction and sentence by an attorney, who will be appointed
23        Defendant cannot afford to hire an attorney. Defendant also acknowledges that any

24 pretrial motions currently pending before the Court are waived.
25

26
27
28 Guilty Plea and Deferred Prosecution Agreement -
          Gourneau Plea Agreement
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 I
             4)      Elements of the Offense:
             The United States and Defendant agree that in order to convict Defendant of
2
      Conspiracy to Commit Bank Fraud, in violation of 18 U.S.C. $$ 1349, 1344,the
 3
      United States would have to prove beyond a reasonable doubt the following elements:
 4
             First, beginning in or around October 2013, and continuing to or around
 5
             November 2014, in the Eastern District of Washington, there was an
 6
             agreement between Defendant and others to commit bank fraud, in
 7
             violation of 18 U.S.C. $ 1344, as charged in Count 1 of the Indictment;
 8
             and
 9
             Second, Defendant became a member of the conspiracy, knowing of its
10
             object and intending to help accomplish it.
1l
t2           5)      Factual Basis and Statement of Facts:
             The United States and Defendant stipulate and agree that the United States
l3
t4 could prove the following facts beyond a reasonable doubt attrial even if Defendant
   was not aware of the full scope of the conspiracy; and that these facts constitute an
15
      adequate factual basis for NICHOLE M. GOURNEAU's guilty plea. This statement
16

t7 of facts does not preclude either party from presenting and arguing, for sentencing
      pulposes, additional facts which are relevant to the guideline computation or
18

19
      sentencing, unless otherwise prohibited in this agreement.

20                   a) Background of the Conspiracy:

2t           On or about October 15,2013 and continuing until about November 3,2014,
22 Darin Dykhouse and Melissa Clark did conspire and agreed together to organize a
23    counterfeit check cashing ring in Spokane, Washington. The counterfeit checks were
24 manufactured by Dykhouse using compromised bank account numbers from the
25    following businesses: Treadtech, Acceleration Physical Therapy, Spokane Production
26    Services, Inc., and Provisional Services. Some of the counterfeit checks were
27 manufactured using the compromised account number from the following individual:
28 Guilty Plea and Defened Prosecution Agreemerfi, - 4
      Gourneau Plea Agreement
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 I J.M.. The counterfeit checks appeared to be payroll checks and most of the
2 compromised account numbers were obtained from theft of U.S. Mail from rural
3     curbside residential mailboxes by Dykhouse, Clark, Haley and Kolle.

4            Investigation revealed that Dykhouse and Clark recruited co-defendants to

 5    negotiate the counterfeit checks for them through their own bank accounts or through

6     another participant's account and the "check cashers" kept a portion of the proceeds or

 7 received payment in the form of methamphetamine from Dykhouse, Clark, or Haley.

 8    Dykhouse manufactured counterfeit checks that were negotiated by four (a) of

 9    Defendants, Witherwax, Johnson, Beckham and Gourneau, using their own names and

10    state issued identifications. Three (3) defendants, Witherwax, Millar and Terpstra

l1 provided their bank account debit cards and Personal ldentification Numbers (PIN) to
t2 Dykhouse, Clark, Haley and Rhodes, allowing checks stolen from the mail to be
13    deposited into their accounts and fraudulent funds to be withdrawn.

t4           Dykhouse, Broadnax, Beckham, Roberts and Kolle additionally negotiated

l5    stolen personal checks from the mail which they altered to be made payable to

16    themselves. Dykhouse and Clark obtained financial documents to include checks and

17    credit cards which were stolen from vehicles prowled by others and used the stolen
l8    items or shared them with co-defendants to include Mickey. Dykhouse opened online

19    credit and checking accounts in victim's names which he in tum intercepted in the US
20    Mail. The actual total loss in this investigation is $20,915 .28 andthe potential loss is
2l 525,296.78. Out of many incidents investigated, approximately 38 of the instances of
22    fraudulent activity were supported by significant evidence for indictment.

23           Dykhouse and Clark used a laptop computer and software to create the

24 counterfeit checks when valid account numbers were stolen, or in some instances
25    stolen personal checks were washed and forged. Many of the counterfeit check

26 negotiations were captured on store security cameras, bank cameras and ATM
27 surveillance cameras. When confronted with surveillance evidence, most of the check
28    Guilty Plea and Deferred Prosecution Agreement - 5
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 I    runners admiued negotiating the fraudulent checks or giving their account information

 2    over to be used by Dykhouse and Clark.

 3           On September 8, 2014, a Nissan Sentra that had been reported stolen was

 4 recovered, ffid it was full of clothes, purses, backpacks, identification documents from
 5    numerous individuals and a Dell laptop computer, a printer and black check making

 6    material. Police also found an evidence tag for the computer indicating rthad been
 7 previously seized from Darin Dykhouse. Investigators later recovered video footage

 8    of Dykhouse picking up the laptop from police evidence on September 5,2074, and he
 9 was a passenger in a white Nissan Sentra. On September 10, 2014, Dykhouse and

10    Clark were found squatting in a residence at 6001 N. Washington Street, and checks,
11    mail, and identification documents of dozens of individuals were recovered in the
t2 residence and in bags belonging to Dykhouse and Clark. A stolen white van parked
13    behind the residence also contained mail, checks and a laptop computer that was

t4 seized.
         A state search warrant was obtained for the laptop recovered from the van and a
t5
   forensic examination was done. A check creation program was recovered and search
l6
      hits were returned for many of the businesses on the counterfeit checks mentioned
t7
      above.
18

l9                   b) Defendant's Participation in the Conspiracy:
               In or around July 2014, Dykhouse and his co-conspirators obtained the
20
                                                           (no.l72l) held by the
2l information of a Bank of the West business bank account
      Internationql Glace, Inc.located at 76t6 E. Lyons Avenue, Spokane, Washington.
22
      Thereafter, Dykhouse and his co-conspirators falsely forged, created, or caused to be
23
      created, Wells Fargo checks for their own use and benefit. Dykhouse and his co-
24
      conspirators utilized computer equipment and printers in order to create materially
25
      fraudulent checks containing the unlawfully obtained bank account information. The
26
27
      materially fraudulent checks were manufactured by a co-conspirator using the bank

28 Guilty Plea and Deferred Prosecution Agreement - 6
      Gourneau Plea Agreement
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      account numbers obtained by another conspirator from stolen U.S. Mail. In execution
 I
      of the scheme, NICHOLE M. GOURNEAU negotiated a Bank of the West check for
2
      $1,200.00.
3
                                          Jr;Jy 14.2014
4
             On or around July 14, 2014, Dykhouse and Clark gave NICHOLE M.
 5
      GOURNEAU a counterfeit check that they had printed using the Bank of the West
6
      account (no. 1721) information of International Glace, Inc. in order for NICHOLE M.
 7
      GOURNEAU to fraudulently negotiate the check in the amount of $1,200.00.
 8
      GOURNEAU signed over the check to her landlord, J.N., who agreed to deposit the
 9
      check into his own Washington Trust bank account, deduct $700.00 that
l0
      GOURNEAU owed in rent and give GOURNEAU the remaining balance of
11

t2 approximately $500.00 by writing her a
                                          personal check.

             Bank of the'West was a financial institution whose accounts were insured by
13
      the Federal Deposit Insurance Corporation ("FDIC").
l4
                                        Januar.v 13.2016
15
             On January 13,2016, following her arrest on this indictment, MCHOLE M.
16

l7 GOURNEAU was advised of her right to remain silent, waived that right and
18
      voluntarily made statements to USPS Inspector Shannon Saylor. GOURNEAU stated

l9    that Dykhouse and Clark had given her the Internationql Glace check and offered to
      share the proceeds with her if she cashed it for them. GOURNEAU stated that she
20
2t knew the check was fraudulent and that she kept the check for several days until her
22    landlord came by and she offered to pay rent with the fraudulent International Glace

23    check given to her by Dykhouse and Clark. She stated that she signed the check over
                                                                        personal check
24 to her landlord who deducted the amount of rent owed and wrote her a
                                                                Casino in Airway
25 for approximately $500.00 which she cashed at Northern Quest
                                                                             paid
26 Heights, Washington. She stated that she gambled the money away and never
277 anything in return to Dykhouse and Clark.
28    Guilty Plea and Deferred Prosecution Agreement - 7
      Gourneau Plea Agreement
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 1l
                 6)      Waiver of Inadmissibility of Statements:
                 Defendant agrees to waive the inadmissibility of statements made in the course
2l
          of plea discussions with the United States, pursuant to Fed. R. Crim. P. 11(f). This
 3l
     I
          waiver shall apply if Defendant withdraws this guilty plea or breaches this Plea
 41

          Agreement. Defendant acknowledges that any statements made by Defendant to law
 5
          enforcement agents in the course of plea discussions in this case would be admissible
 6
          against Defendant in the United States's case-in-chief if Defendant were to withdraw
 7
          or breach this Plea Agreement.
 8

 9
                 7)      The United States Agrees:

l0                       a)         To Dismiss the Indictment (2:15-CR-00144-SIVIJ-15):

11
                 If, for a period of (18) eighteen months, commencing upon the date of the entry
                                                                    in violation of 18
t2 of Defendant's plea of guilty to Conspiracy to Commit Bank Fraud
13
   U.S.C. $$ 1344,1349, Defendant:

t4
                 . Does not violate of any conditions of Pre-Trial Release imposed pursuant to
                    ECF 106 during the 18-month deferred prosecution period;
15

16
                 . Is not charged with or convicted of any criminal offense whatsoever during
                    the 18-month deferred prosecution period;
t7
18
                 . Completes full payment of restitution in the amount of $1,200.00;
19        the United States agrees to move to dismiss the Indictment (2:15-CR-00144-SIVIJ-15)
20 prior to sentencing. In addition to the present conditions of pre-trial release,
21        Defendant agrees to random drug testing, not to exceed 6 times per month, ffid
22 acknowledges that any positive urinalysis results or unexcused failures to appear for
23        random urinalyses whatsoever during the l8-month defened prosecution period will
24 be considered presumptive violations. Defendant agrees to not request early
25        termination of the 18-month Deferred Prosecution Agreement.
26
27
 7

28        Guilty Plea and Defened Prosecution Agreement - 8
          Gourneau Plea Agreement
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 1
                      b)        Not to File Additional Charges:
              The United States Attorney's Office for the Eastern District of Washington
2
      agrees not to bring any additional charges against Defendant based upon information
 3
      in its possession at the time of this Guilty Plea and Deferred Prosecution Agreement
4
      and arising out of Defendant's conduct involving illegal activity charged in Indictment
 5
      (2:15-CR-144-SMJ-15), unless Defendant breaches this Guilty Plea and Deferred
 6
      Prosecution Agreement any time before or after sentencing.
 7

 8
              8)      United States Sentencing Guideline Calculations:
              Defendant understands and acknowledges that if she breaches or violates the
 9
      conditions of this Guilty Plea and Deferred Prosecution Agreemenl the United States
10

l1 Sentencing Guidelines (hereinafter "U.S.S.G.') are applicable to this case and that the
t2 Court will determine Defendant's applicable sentencing guideline range at the time of
13
      sentencing. Defendant also understands that pursuant to tJnited States v. Booker,543

t4 U.S. 220 (2005), the Court is required to consider the factors set forth in 18 U.S.C. $
15
      3553(a), and to impose a reasonable sentence.

16                    a)        Base Offense Level:

17            The United States and Defendant agree that the base offense level for

l8    Conspiracy to Commit Bank Fraud, in violation of 18 U.S.C. $$ 1344, 1349 is 7. See

19    U.S.S.G. $2B 1.1(a)(1).

20                    b)        SpecificOffenseCharacteristics:

21            The United States and Defendant further agree and stipulatethatthe amount of

22    loss that was both in furtherance of the jointly undertaken activity and reasonably

23    foreseeable in connection with that criminal activity, relevant to this Defendant is less

24 than $5,000. Therefore, there is no increase in the offense level pursuant to U.S.S.G.
25    $2B 1 .1 (b)( 1 ).

26
27
28 Guilty Plea and Deferred Prosecution Agreement - 9
      Gourneau Plea Agreement
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  1
                       c)         Role in the Offense :
               The United States and Defendant further agree and stipulatethat Defendant was
  2
       not substantially less culpable that other similarly situated co-conspirators and that
  3
       Defendant's relevant conduct has been considered in the calculation of loss. ,See,
  4
       Paragraph 8(b), supra. Therefore, the United States and Defendant further agree and
  5
       stipulate that Defendant is not eligible for a mitigating role reduction pursuant to
  6
       u.s.s.G. s381.2.
  7

  8
                       d)         Acceptance of Responsibilitv:

  9
               If Defendant pleads guilty and demonstrates a recognition and an affirmative
       acceptance of personal responsibility for the criminal conduct; does not commit any
.10
 ll obstructive conduct; accepts this Guilty Plea and Deferred Prosecution Agreement;
       and enters a plea of guilty no later than June 28,2076, the United States will
 t2
       recommend that Defendant receive a two (2) level downward adjustment for
 13
       acceptance of responsibility, pursuant to U.S.S.G. S3E1.1(a).
 14

 t5            Defendant andthe United States agree that the United States may at its option
       and upon written notice to Defendant, not recommend a two (2) level downward
 l6
 t7 reduction for acceptance of responsibility if prior to the imposition of sentence,
 18
    Defendant is charged or convicted of any criminal offense whatsoever or if Defendant

 t9    tests positive for any controlled substance.

 20            Furthermore, Defendant agrees to pay the $100 mandatory special penalty

 2t    assessment to the Clerk of Court for the Eastern District of Washington, at or before

 22    sentencing, and shall provide a receipt from the Clerk to the United States before

 23    sentencing as proof of this payment, as a condition to this recommendation by the

 24 United States.
 25

 26
 27
 28     Guilty Plea and Deferred Prosecution Agreement - 10
        Gourneau Plea Agreement
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 I
                     e)         Criminal History:
              The United States and Defendant have made no agreement and make no
 2
      representations as to the criminal history category, which shall be determined after the
 3
      Presentence Investigative Report is completed.
 4
 5
              9)     Incarceration:
              If Defendant breaches or in any way violates the terms and conditions of this
 6
      Guilty Pleq and Deferred Prosecution Agreement and is sentenced on the Indictment
 7
      (2:15-CR-00144-SIVIJ-15), the United States will recommend a sentence within the
 8
      applicable guideline range as determined by the Court at sentencing. Defendant may
 9
      request any reasonable sentence.
10

11
              10) Restitution:
12
              If Defendant breaches or in any way violates the terms and conditions of this

13
      Guilty Plea and Deferred Prosecution Agreement and is sentenced on the Indictment,

t4 the United States and Defendant agree that restitution is mandatory in this case
t5 pursuant to 18 U.S.C. $ 36634. Defendant agrees that the amount of restitution as
      applies to her is approximately $1,200.00. The exact amount of restitution, however,
l6
t7 willbe determined at the time of sentencing.
18
              11) Criminal Fine:
19
              If Defendant breaches or in any way violates the terms and conditions of this

20     Guilty Plea qnd Deferred Prosecution Agreement and is sentenced on the Indictment,

2l    the United States and Defendant are free to make whatever recommendation

22 concerning the imposition of a criminal fine that they believe is appropriate.
23            12) SupervisedRelease:
24            If Defendant breaches or in any way violates the terms and conditions of this
25     Guilty Plea and Deferred Prosecution Agreement and is sentenced on the Indictment,

26 Defendant acknowledges that the United States will recommend that the Court impose
27
28 Guilty Plea and Defened Prosecution Agreement - 11
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         a three (3)-year term of supervised release to include the following special conditions,
 1l
         in addition to the standard conditions of supervised:
2l
                1) that Defendant, as directed by U.S. Probation, participate and complete such
 3l
     I
         drug testing and drug treatment programs as the Probation Officer directs;
 4l
                2) that Defendant's person, residence, office, vehicle, and belongings are
 5
         subject to search at the direction of the Probation Officer;
 6
                3) that Defendant provide financial information and copies of federal income
 7
         tax returns, and allow credit checks, at the direction of U.S. Probation;
 8
                4) that Defendant shall disclose all assets and liabilities over the amount of
 9
         $500 to U.S. Probation and shall not transfer, sell, give away, or otherwise convey or
10
         secret any asset over the amount of $500, without the advance approval of U.S.
t1
t2 Probation;
                5) that Defendant be prohibited from incurring any new debt, opening new lines
13

14
         of credit, or enter any financial contracts or obligations over the amount of $500.00

t5 without the prior approval of U.S. Probation; and
16
                6) that Defendant participate and complete financial counseling and life skills
         programs at the direction of U.S. Probation.
17

r8              Defendant will seek a shorter period of supervised release and reserves

19       argument regarding release conditions.

20              13) Mandatory Special Penalty Assessment:
21              Defendant agrees to pay the $100 mandatory special penalty assessment to the

22 Clerk of Court for the Eastern District of Washington, at or before sentencing,
23 pursuant to 18 U.S.C. S 3013 and shall provide a receipt from the Clerk to the United

24       States before sentencing as proof of this payment.

25              14) Payments While Incarcerated:
26              If Defendant is sentenced to a period of incarceration and lacks the financial
27 resources to pay the monetary obligations imposed by the Court, Defendant agrees to
28 Guilty Plea and Defened Prosecution Agreement - 12
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      earn the money to pay toward these obligations by participating in the Bureau of
 I
      Prisons' Inmate Financial Responsibility Program.
2

3
              15) Additional Violations of Law Can Void PleaAgreement:
              Defendant and the United States agree that the United States ffi€ry, at its option
4
      and upon written notice to Defendant, withdraw from this Guilty Plea and Defened
 5
      Prosecution Agreement or modiff its recommendation for sentence if, prior to the
 6
      imposition of sentence, Defendant is charged or convicted of any criminal offense
 7
      whatsoever or if Defendant tests positive for any controlled substance.
 8

 9
              16) Appeal Rights:
              In return for the concessions that the United States has made in this Guilty Plea
10
                                                     agrees to waive the right to appeal
t1 and Deferred Prosecution Agreemenf, Defendant
t2 the conviction and sentence in the Indictment (2:15-CR-00144-SMJ-15) if the Court
      imposes a prison term within or lower than the applicable sentencing guideline range
13

t4 ultimately determined by the Court, imposes a term of supervised release of no longer
      than three (3) years, imposes a fine not greater than $5,000, imposes a $100 penalty
15
      assessment, and imposes an order of restitution in an the amount not greater than
16

t7 $2,000.00. Defendant further expressly waives his/her right to file any post-
18
      conviction motion attacking his/her conviction and sentence, including a motion
      pursuant to 28 U.S.C. S 2255, except one based upon ineffective assistance of counsel
19

20 based on information not now known by Defendant andwhich, in the exercise
                                                                                of due

2t diligence, could not be known by Defendant by the time the Court imposes the
22    sentence. Should Defendant successfully move to withdraw from this Guilty Plea and

23    Deferred Prosecution Agreement or should Defendant's conviction on the Indictment

24 be dismissed, set aside, vacated, or reversed, this Guilty Plea and Deferred
25 Prosecution Agreement shall become null and void; the United States may move
                                                                                to

26 reinstate all counts of Indictment No. 2:15-CR-144-SMJ-15; and the United States
27 may prosecute Defendant on all available charges as well as additional charges based
28 Guilty Plea and Defened Prosecution Agreement - 13
       Gourneau Plea Agreement
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      on conduct known at the time of the entry of Defendant's guilty plea or conduct that
 I
      occurred after the entry of the guilty plea. Nothing in this Guilty Plea and Defewed
2
      Prosecution Agreement shallpreclude the United States from opposing any post-
3
      conviction motion for a reduction of sentence or other attack of the conviction or
4
      sentence, including, but not limited to, proceedings pursuant to 28 U.S.C. S 2255 (writ
 5
      ofhabeas corpus).
6

7
              18) IntegrationClause:
              The United States and Defendant acknowledge that this document constitutes
 8
      the entire Guilty Plea and Deferred Prosecution Agreementbetween the United States
 9
      and Defendant, and no other promises, agreements, or conditions exist between the
10
      United States and Defendant concerning the resolution of the case. This Guilty Plea
11

t2 and Deferred Prosecution Agreemenl is binding only upon the United States
13
      Attorney's Office for the Eastern District of Washington, and cannot bind other

t4 federal, state or local authorities. The United States and Defendant agree that this
      agreement cannot be modified except in a writing that is signed by the United States
l5
16    and Defendant.

t7                                   Approvals and Signatures

18
              Agreed and submitted on behalf of the United States Attorney's Office for
t9
      the Eastern District of Washington.
20
2l MICHAEL C. O
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                                                                      t
27
   Allyson Edwards
 7 Assistant U.S. Attorney
                                                          Date   f
28 Guilty Plea and Deferred Prosecution Agreement - t4
       Gourneau Plea Agreement
     Case 2:15-cr-00144-SMJ       ECF No. 447    filed 06/28/16    PageID.1555 Page 15 of 15




              I have read this Guilty Plea and Deferred Prosecution Agreement and have
 1

      carefully reviewed and discussed every part of the agreement with my attorney. I
2
      understand and voluntarily enter into this Guilty Plea and Deferred Prosecution
3
      Agreemenf. Furthermore, I have consulted with my attorney about my rights, I
4
      understand those rights, and I am satisfied with the representation of my attorney in
5
      this case. No other promises or inducements have been made to me, other than those
6
      contained in this Guilty Plea and Deferred Prosecution Agreement and no one has
7
                       forced me in any way to enter into this Guilty Pleo and Deferred
 8
                                  I am agreeing to plead guilty because I am guilty.
 9


                                                              b -zg /c,
10

11
                    M. GOURNEA                              Date
t2 Defendant
13

t4            I have read the Guilty Plea and Deferred Prosecution Agreement and have
       discussed the contents of the agreement with my client. The Guilty Plea and Deferred
15
      Prosecution Agreement accurately and completely sets forth the entirety of the
16
       agreement between the parties. I concur in my client's decision to plead guilty as set
l7
18
       forth in the Guilty Plea and Deferred Prosecution Agreement. There is no legal

l9                   the Court should not accept Defendant's plea of guilty.



                          ich                               Date
                  for Defendant

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28     Guilty Plea and Deferred Prosecution Agreement - l5
       Gourneau Plea Agreement
